               Exhibit A




Case 2:21-cv-00969-LA Filed 01/07/22 Page 1 of 46 Document 25-1
                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSN
                         MILWAUKEE DIVISION

JOHN HUBER, in his individual capacity       )
and as Personal Representative of the        )
ESTATE OF ANTHONY HUBER,                     )
                                             )   No. 2:21-cv-00969-LA
                                             )
            Plaintiff,
                                             )
                                                 Hon. Lynn Adelman,
                                             )
            v.                               )   District Judge
                                             )
DAVID G. BETH, in his individual and         )
official capacity as Kenosha County Sheriff, )
DANIEL G. MISKINIS, in his individual        )
and official capacity as the former Chief of )
Police for the Kenosha Police Department,    )
ERIC LARSEN, in his official capacity as     )
the acting Chief of Police for the Kenosha   )
                                             )
Police Department, JOHN DOE POLICE
                                             )
OFFICERS of the Kenosha Police
                                             )
Department, Kenosha County Sheriff’s         )
Department, Waukesha County Sheriff’s        )
Department, Racine County Sheriff’s          )
Department, Sauk County Sheriff’s       )
Department, Walworth County Sheriff’s   )
Department, Washington County Sheriff’s )
Department, Menomonee Falls Police      )
Department, and West Allis Police
                                        )
Department, CITY OF KENOSHA, COUNTY
                                        )
OF KENOSHA, COUNTY OF WAUKESHA,
COUNTY OF RACINE, COUNTY OF SAUK,       )
COUNTY OF WALWORTH, COUNTY OF           )
WASHINGTON, VILLAGE OF MENOMONEE )
FALLS, CITY OF WEST ALLIS, and KYLE     )
RITTENHOUSE.                            )
                                        )        JURY TRIAL DEMANDED
          Defendants.                   )




                                        1

      Case 2:21-cv-00969-LA Filed 01/07/22 Page 2 of 46 Document 25-1
                         FIRST AMENDED COMPLAINT

      NOW COMES Plaintiff, JOHN HUBER, in his individual capacity and as

Personal Representative of the ESTATE OF ANTHONY HUBER, by counsel, Loevy

& Loevy, and complains against DAVID G. BETH, in his individual and official

capacity as Kenosha County Sheriff, DANIEL G. MISKINIS, in his individual and

official capacity as the former Chief of Police for the Kenosha Police Department,

ERIC LARSEN, in his official capacity as the acting Chief of Police for the Kenosha

Police Department, and JOHN DOE POLICE OFFICERS of the Kenosha Police

Department and Kenosha County Sheriff’s Department, Waukesha County Sheriff’s

Department,     Racine   County   Sheriff’s   Department,   Sauk   County   Sheriff’s

Department, Walworth County Sheriff’s Department, Washington County Sheriff’s

Department, Menomonee Falls Police Department, and West Allis Police

Department, CITY OF KENOSHA, COUNTY OF KENOSHA, COUNTY OF

WAUKESHA, COUNTY OF RACINE, COUNTY OF SAUK, COUNTY OF

WALWORTH, COUNTY OF WASHINGTON, VILLAGE OF MENOMONEE FALLS,

and CITY OF WEST ALLIS, and KYLE RITTENHOUSE, as follows:

                                  INTRODUCTION

      1.      This case involves the tragic death of Anthony Huber, a beloved son and

community member, who was shot and killed while committing an act of remarkable

heroism.

      2.      On August 25, 2020, in Kenosha, Wisconsin, Huber was participating in

protests against police violence, which were sparked by the police shooting of Jacob


                                          2

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 3 of 46 Document 25-1
Blake two days earlier. Mr. Blake was a Black man who had been shot in the back

seven times by an officer in the Kenosha Police Department, and Huber was among

many who peacefully protested the shooting and Kenosha’s pattern of racist and

violent behavior by police officers and other officials.

      3.     During the protests, private citizens took up arms and patrolled the

streets of Kenosha, acting as law enforcement agents. Many of them had posted racist

messages and threatened violence on social media before descending upon Kenosha.

They made their plans known to law enforcement officials.

      4.     These armed individuals were not Kenosha business owners whose

property had been damaged, nor were they hired by any of those businesses to come

protect their property.

      5.     One of these armed individuals was Defendant Kyle Rittenhouse, who

was then 17 years old. He crossed into Wisconsin from Illinois, carrying an assault

rifle on the streets of Kenosha, in open violation of the law.

      6.     Astonishingly, the Kenosha Police Department, Kenosha County

Sheriff’s Department, their supervising officials and police officers, and law

enforcement officers from surrounding communities did not treat Defendant

Rittenhouse or any of the other armed individuals patrolling the streets as a threat

to the safety of themselves or the citizens they were sworn to protect.

      7.     Instead, the law enforcement Defendants deputized these armed

individuals, conspired with them, and ratified their actions by letting them patrol the

streets, armed with deadly weapons, to mete out justice as they saw fit. In addition,


                                            3

        Case 2:21-cv-00969-LA Filed 01/07/22 Page 4 of 46 Document 25-1
the law enforcement Defendants thanked Defendant Rittenhouse and other armed

individuals, gave them water, and allowed them to openly defy the emergency curfew

order that was in place. The law enforcement Defendants even made plans to funnel

the protestors toward the armed individuals “deal with them.”

      8.      As   a   result,   Defendant       Rittenhouse   fired   his   assault   rifle

indiscriminately multiple times at citizens on the street. He shot and killed two men,

seriously injured a third, and narrowly missed a fourth. At the time Defendant

Rittenhouse encountered Anthony Huber, Defendant Rittenhouse had already killed

one man.

      9.      Anthony Huber is a hero. He attempted to disarm Defendant

Rittenhouse, end the gunfire, stop the bloodshed, and protect his fellow citizens.

Tragically, Anthony died when Defendant Rittenhouse shot him in the chest as

Anthony tried to pull the assault rifle from Defendant Rittenhouse’s hands.

      10.     The conduct of the Defendants in this case directly caused Anthony

Huber’s death. Anthony’s father, John Huber, and his mother, Karen Bloom, now

seek justice for the death of their son.


                             NATURE OF THE ACTION

      11.     This is a civil action arising under 42 U.S.C. §§ 1983, 1985, and 1986,

and under state law, for deprivation of Plaintiff’s constitutional, statutory, and state-

law rights.



                           JURISDICTION AND VENUE

                                             4

        Case 2:21-cv-00969-LA Filed 01/07/22 Page 5 of 46 Document 25-1
      12.    Jurisdiction of this Court is invoked pursuant 28 U.S.C. §§1331 and

1343(a).

      13.    This Court has supplemental jurisdiction over Plaintiff’s state law

claims pursuant to 28 U.S.C. §1367(a) because they are part of the same case and

controversy described by Plaintiff’s federal claims.

      14.    Venue is proper in this District, pursuant to 28 U.S.C. §1391, and

because all the conduct complained of herein occurred in this District.

                                      PARTIES

      15.    Plaintiff JOHN HUBER is the father of Anthony Huber, deceased.

(“Anthony”). He sues in his individual capacity and as Personal Representative of the

ESTATE OF ANTHONY HUBER (“Estate”).

      16.    Defendant DAVID G. BETH was the duly elected Sheriff of Kenosha

County, Wisconsin. Defendant Beth had the authority to make and enforce policies of

the Kenosha County Sheriff’s Department.

      17.    Defendant DANIEL G. MISKINIS was the Chief of Police for the

Kenosha Police Department. Defendant Miskinis had the authority to make and

enforce policies of the Kenosha Police Department.

      18.    Defendant ERIC LARSEN is the current Chief of Police for the Kenosha

Police Department. He is sued in his official capacity only.

      19.    Defendants JOHN DOE POLICE OFFICERS are unknown law

enforcement officers employed by the Kenosha Police Department, Kenosha County

Sheriff’s Department, Waukesha County Sheriff’s Department, Racine County


                                           5

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 6 of 46 Document 25-1
Sheriff’s Department, Sauk County Sheriff’s Department, Walworth County Sheriff’s

Department, Washington County Sheriff’s Department, Menomonee Falls Police

Department, and West Allis Police Department, who were deployed to respond to the

protests on August 25, 2020.

        20.   Defendant CITY OF KENOSHA is a Wisconsin municipal corporation,

which operates the Kenosha Police Department (“KPD”), which in turn sets city-wide

policies for the conduct of police officers employed by the City of Kenosha. The KPD

deployed officers and equipment to respond to and control the protests on the evening

of August 25, 2020.

        21.   Defendant COUNTY OF KENOSHA is a governmental entity within the

State of Wisconsin, an arm of which is the Kenosha County Sheriff’s Department

(“KCSD”), which in turn sets policies for the conduct of sheriff’s deputies employed by

the Kenosha County Sheriff’s Department. The KCSD deployed officers and

equipment to respond to and control the protests on the evening of August 25, 2020.

        22.   Defendant COUNTY OF WAUKESHA is a governmental entity within

the State of Wisconsin, an arm of which is the Waukesha County Sheriff’s

Department, which in turn sets policies for the conduct of sheriff’s deputies employed

by the Waukesha County Sheriff’s Department. The department deployed officers

and equipment to respond to and control the protests on the evening of August 25,

2020.

        23.   Defendant COUNTY OF RACINE is a governmental entity within the

State of Wisconsin, an arm of which is the Racine County Sheriff’s Department, which


                                          6

         Case 2:21-cv-00969-LA Filed 01/07/22 Page 7 of 46 Document 25-1
in turn sets policies for the conduct of sheriff’s deputies employed by the Racine

County Sheriff’s Department. The department deployed officers and equipment to

respond to and control the protests on the evening of August 25, 2020.

        24.   Defendant COUNTY OF SAUK is a governmental entity within the

State of Wisconsin, an arm of which is the Sauk County Sheriff’s Department, which

in turn sets policies for the conduct of sheriff’s deputies employed by the Sauk County

Sheriff’s Department. The department deployed officers and equipment to respond to

and control the protests on the evening of August 25, 2020.

        25.   Defendant COUNTY OF WALWORTH is a governmental entity within

the State of Wisconsin, an arm of which is the Walworth County Sheriff’s

Department, which in turn sets policies for the conduct of sheriff’s deputies employed

by the Walworth County Sheriff’s Department. The department deployed officers and

equipment to respond to and control the protests on the evening of August 25, 2020.

        26.   Defendant COUNTY OF WASHINGTON is a governmental entity

within the State of Wisconsin, an arm of which is the Washington County Sheriff’s

Department, which in turn sets policies for the conduct of sheriff’s deputies employed

by the Washington County Sheriff’s Department. The department deployed officers

and equipment to respond to and control the protests on the evening of August 25,

2020.

        27.   Defendant VILLAGE OF MENOMONEE FALLS is a governmental

entity within the State of Wisconsin, an arm of which is the Menomonee Falls Police

Department, which in turn sets policies for the conduct of officers employed by the


                                          7

         Case 2:21-cv-00969-LA Filed 01/07/22 Page 8 of 46 Document 25-1
Menomonee Falls Police Department. The department deployed officers and

equipment to respond to and control the protests on the evening of August 25, 2020.

      28.    Defendant CITY OF WEST ALLIS is a governmental entity within the

State of Wisconsin, an arm of which is the West Allis Police Department, which in

turn sets policies for the conduct of officers employed by the West Allis Police

Department. The department deployed officers and equipment to respond to and

control the protests on the evening of August 25, 2020.

      29.    Hereinafter, all the law enforcement officers and departments set forth

above are referred to, collectively, as the “Law Enforcement Defendants.”

      30.    Hereinafter, the Waukesha County Sheriff’s Department, Racine

County Sheriff’s Department, Sauk County Sheriff’s Department, Walworth County

Sheriff’s Department, Washington County Sheriff’s Department, Menomonee Falls

Police Department, and West Allis Police Department, and their officers, are referred

to as “Additionally Responding Departments” or “Additionally Responding Officers.”

      31.    Hereinafter, the City of Kenosha, County of Kenosha, County of

Waukesha, County of Racine, County of Sauk, County of Walworth, County of

Washington, Village of Menomonee Falls, and City of West Allis are referred to as

the “Municipal Defendants.”

      32.    Defendant KYLE RITTENHOUSE is a citizen of Illinois who shot and

killed Anthony Huber on August 25, 2020.

                                      FACTS

            Kenosha Police Shoot Jacob Blake, Sparking Protests


                                         8

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 9 of 46 Document 25-1
      33.    On August 23, 2020, in Kenosha, Wisconsin, KPD officer Rusten

Sheskey shot Jacob Blake in the back seven times without justification.

      34.    Neighbors and other concerned residents of Kenosha demonstrated in

protests against the shooting of Jacob Blake. Demonstrators initially gathered at the

site where Mr. Blake was shot. When video of the KPD’s shooting of Blake was

released, it rightly sparked public outrage. That evening hundreds of additional

demonstrators gathered in downtown Kenosha to protest.

      35.    Officers from the KPD and the KCSD were dispatched to monitor the

demonstrations, police the actions of individuals present, and disperse the crowds.

      36.    The KPD and KCSD officers at the scene were antagonistic toward the

demonstrators, who were voicing their outrage at the racist and systemic violence

conducted by the very officers who were policing the demonstrations.

      37.    An emergency overnight curfew of 10:15 p.m. was put in place. The

curfew was aimed at protestors and not actually directed at, or enforced against,

others in the City violating the order.

      38.    Officers from the KPD and KCSD fired tear gas and rubber bullets into

the crowds to break up the demonstrations, and they arrested many demonstrators.

      39.    On Monday, August 24, 2020, the demonstrations continued. Defendant

Beth put in place an 8 p.m. curfew. Again, the curfew was aimed at protestors.

      40.    That curfew remained in effect on August 25, 2020.

  KPD and KCSD Coordinate Their Response and Control of the Protests
     with Departments and Officers from Neighboring Communities

      41.    On August 25, 2020, in addition to the officers from KPD and KCSD, the

                                          9

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 10 of 46 Document 25-1
Additionally Responding Departments deployed officers and equipment to participate

in the response and control of the protests in Kenosha. The Additionally Responding

Officers joined forces with the KPD and KCSD and worked under their coordination

and tactical command.

      42.    The Waukesha, Racine, Sauk, Walworth and Washington County

Sheriff’s Departments deployed Special Weapons and Tactics (SWAT) teams to

coordinate with KPD and KCSD to respond to and control the protests in Kenosha.

      43.    In addition to officers, the Additionally Responding Departments also

deployed equipment, including service weapons and crowd control tools such as

pepper spray, tear gas and so-called non-lethal weapons such as bean bag shotguns

and rubber bullets. The Additionally Responding Departments also provided armored

military vehicles designed for use in war, including BearCats and Mine-Resistant

Ambush Protected trucks (MRAPs).

      44.    At various times, KPD, KCSD and the Additionally Responding

Departments used all these tools on or against protestors.

      45.    Tear gas is a chemical weapon that the United States military is banned

from using under the 1925 Geneva Protocol and the United Nations Chemical

Weapons Convention that went into effect in 1997. The KPD, KCSD, and Additionally

Responding Departments deployed it repeatedly on protestors in Kenosha between

August 23 and 25.

      46.    On the night of August 25, the Additionally Responding Officers all

coordinated with and acted under a shared tactical command with KPD and KCSD.


                                         10

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 11 of 46 Document 25-1
        Defendants Know Armed Individuals Plan to Patrol Kenosha
                 and Have Threatened Harm to Citizens

      47.      The demonstrations continued into August 25, 2020.

      48.      That evening, armed individuals descended on Kenosha. They could be

seen patrolling the streets in and around the demonstrations, brandishing weapons,

threatening residents, and pointing weapons at peaceful demonstrators without

provocation.

      49.      The armed individuals had arrived in part based on a Facebook post by

Kevin Mathewson on behalf of a militia group he formed called the Kenosha Guard.

Mathewson put out a call on Facebook for “patriots willing to take up arms and defend

our City tonight against the evil thugs.” He received hundreds of online responses,

including many hundreds of people indicating that they would be attending.

      50.      The responders to Mathewson’s post made clear that they intended to

patrol the demonstration armed, and with the intent to kill. Responses included the

following:

               a. “Counter protest? Nah. I fully plan to kill looters and rioters tonight.

                  I have my suppressor on my AR [Assault Rifle], these fools won’t even

                  know what hit them.”

               b. “It’s about time. Now it’s time to switch to real bullets and put a stop

                  to these impetuous children rioting.”

               c. “Use hollow points, they expand on contact.”

               d. “Armed and ready. Shoot to kill tonight.”

      51.      Defendants knew about the plans and intentions of the armed

                                            11

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 12 of 46 Document 25-1
individuals, including the social media posts, and the plans and intentions of the pro-

militia armed individuals that descended on downtown Kenosha.

      52.    Mathewson is a former Kenosha alderman, was known to the

Defendants, and speaks regularly with Defendant Miskinis.

      53.    Mathewson, calling himself the Commander of the Kenosha Guard,

emailed Defendant Miskinis and Joseph Nosalik, KPD’s Public Information Officer.

The email stated, “Chief Miskinis: As you know, I am the Commander of the Kenosha

Guard, a local militia. We are mobilizing tonight and have about 3,000 RSVP’s. We

have volunteers that will be in Uptown, downtown, and at the entrances to other

neighborhoods.” Matthewson also posted the email as an open letter to the Kenosha

Chief of Police on social media.

      54.    The email and social media post made clear that these “volunteers”

would not be there to protect their own homes or businesses, and that they had not

been hired by any local business to secure property. Instead, they intended to patrol

the streets, acting as armed law enforcement officials.

      55.    Neither Defendant Miskinis nor Defendant Beth made any attempt to

dissuade Mathewson or any other armed individuals from showing up in Kenosha to

patrol the streets.

      56.    Defendants Miskinis and Beth acknowledged that the KPD and KCSD

were aware that pro-militia, armed individuals intended to patrol and then did patrol

downtown Kenosha.

      57.    The Additionally Responding Departments and their Officers were also


                                          12

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 13 of 46 Document 25-1
fully aware that there were pro-militia armed individuals were patrolling downtown

Kenosha. This was obvious to them when on scene. Indeed, one of the Additionally

Responding Officers wrote in his report from the night of August 25, 2020 that

“throughout the night” they observed pro-militia groups “armed, mostly with long

guns in the area of 60th and Sheridan.”

       Defendant Rittenhouse Shoots Anthony Huber and Two Others

      58.    Among the armed individuals who arrived in Kenosha on August 25 was

Defendant Kyle Rittenhouse.

      59.    Defendant Rittenhouse was a 17-year-old from Antioch, Illinois.

      60.    By his appearance, Defendant Rittenhouse was obviously a minor.

      61.    Defendant Rittenhouse possessed a Smith & Wesson AR-15 style .223

rifle, with a magazine holding 30 rounds of ammunition. This weapon was developed

in the late 1950s as a weapon of war.

      62.    Defendant     Rittenhouse    was   brandishing       his   gun   openly   and

conspicuously, strapping it over his shoulder using a tactical sling designed to

position the rifle at the center of his chest for rapid elevation and positioning. The

rifle was visible at all times across his body or in his hands.

      63.     Defendant Rittenhouse was in clear violation of the law, which

prohibits a minor from possessing or displaying such a gun.

      64.    Numerous KPD and KCSD officers saw Defendant Rittenhouse before

and after the shootings that night, as did many of the Additionally Responding

Officers. Despite being in clear violation of Wisconsin law, Defendant Rittenhouse

was not asked for identification, was not questioned, was never detained, and was
                                        13

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 14 of 46 Document 25-1
not disarmed.

      65.    Instead,   the   Law   Enforcement     Defendants    allowed    Defendant

Rittenhouse to patrol the streets of downtown Kenosha with his deadly assault rifle,

they invited him in, deputized him, conspired with him, and ratified his actions.

      66.    As a result of the Law Enforcement Defendants’ actions, within the zone

they controlled, Defendant Rittenhouse shot at four Kenosha-area residents, killing

two of them and seriously injuring a third.

      67.    At around 11 p.m., without provocation or any legal justification,

Defendant Rittenhouse pointed his gun at an unarmed demonstrator heading to his

car to go home.

      68.    Around 11:45 p.m., Defendant Rittenhouse shot Joseph Rosenbaum in

the parking lot of an auto dealership. Rosenbaum was killed.

      69.    Instead of seeking medical attention, or any other form of aid, Defendant

Rittenhouse called his friend Dominic Black, told Black that he had just killed

someone, and then ran.

      70.    Defendant Rittenhouse ran from the scene of the Rosenbaum shooting

with his assault rifle in his hands, holding it in a ready position. People were yelling

that Defendant Rittenhouse had just shot someone.

      71.    Defendant Rittenhouse stumbled and fell to the ground, and several

citizens approached him in an attempt to disarm him.

      72.    Anthony Huber was one of those individuals. Anthony approached

Defendant Rittenhouse to disarm him, stop the shooting, and save the lives of others.


                                          14

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 15 of 46 Document 25-1
         73.    Anthony Huber was a hero.

         74.    As Anthony was reaching for Defendant Rittenhouse’s rifle to pull it

away, without provocation or any legal justification, Defendant Rittenhouse shot him

in the chest:




         75.    After Anthony was shot, Gage Grosskreutz approached Defendant

Rittenhouse with his hands up, pleading with him to stop his shooting rampage.

Without provocation or any legal justification, Defendant Rittenhouse shot at

Grosskreutz from point-blank range, hitting him in the arm. Thankfully, Grosskreutz

survived.

         76.    But the shot that Defendant Rittenhouse fired at Anthony’s chest was

fatal.

                         The Law Enforcement Defendants
                                            15

         Case 2:21-cv-00969-LA Filed 01/07/22 Page 16 of 46 Document 25-1
                  Authorize Defendant Rittenhouse’s Shootings

      77.      The Law Enforcement Defendants did nothing to stop Defendant

Rittenhouse’s illegal conduct. They did not arrest him for illegally carrying a gun.

They did not disarm him. They did not limit his movement in any way. They did not

question him. They did not stop him from shooting individuals after he started. They

did not arrest him, detain him, or question him even after he had killed two people.

      78.      Instead, the Law Enforcement Defendants deputized Defendant

Rittenhouse and other armed individuals, conspired with them, and ratified their

actions by allowing them to patrol the streets armed illegally with deadly weapons

and shoot and kill innocent citizens.

      79.      Among other things, the Law Enforcement Defendants directed their

curfew order only at people protesting the Law Enforcement Defendants’ own police

violence, and not at Defendant Rittenhouse and others, who were supporters of law

enforcement.

      80.      Defendant Rittenhouse and others were subject to a different set of rules

and were allowed to move about freely in areas controlled by the Law Enforcement

Defendants.

      81.      For example, at 9:57 p.m., a Kenosha Police Sergeant sent a message to

all officers through the Department’s internal messaging system noting the presence

of armed individuals patrolling the streets in violation of the curfew order.

      82.      The Additionally Responding Officers were also fully aware of the

presence of armed individuals patrolling the streets in violation of the curfew order,


                                           16

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 17 of 46 Document 25-1
based on their observation of their presence “throughout the night” and their

participation in a coordinated tactical command.

      83.    Rather than take any steps to detain, dissuade, or disarm these armed

individuals, a KPD Sergeant made clear that the pro-police armed individuals were

not to be detained, dissuaded, or disarmed, calling the armed individuals in blatant

violation of the curfew order “very friendly.”

      84.    Likewise, at 11:26 p.m., callers reported that some of the pro-police

armed individuals had “slashed tires” in a nearby area. But the Defendants did

nothing in response to this conduct, let alone arrest the perpetrators.

      85.    To the contrary, one of the Additionally Responding Officers, on a text

thread with others titled “Tactical Enforcement Unit Command Only” wrote, “Gotta

love counter protestors. Slashing tires.”

      86.    Instead, at approximately 11:30 p.m., about fifteen minutes before

Defendant Rittenhouse shot Rosenbaum, Huber and Grosskreutz, several Law

Enforcement Defendants were talking to Defendant Rittenhouse and the other armed

individuals who had congregated in the parking lot of a private business.

      87.    Despite the fact that the armed individuals were in violation of the

curfew order, the officers and deputies communicated their full support and

appreciation for Defendant Rittenhouse and others.

      88.    In video footage taken at the scene, officers can even be heard asking

armed individuals if they needed water. Defendant Rittenhouse can be seen telling

the officers that they did need water, which officers gave them.


                                            17

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 18 of 46 Document 25-1
       89.    Defendant Rittenhouse walked right up to the police vehicles. Despite

his obviously tender age, he was not asked for identification to demonstrate that he

could lawfully possess an assault rifle.

       90.    Officers working for the Law Enforcement Defendants not only provided

armed individuals with water, but they voiced their support and appreciation for the

actions of Defendant Rittenhouse and others, saying: “We appreciate you guys, we

really do.”

       91.    Needless to say, the Law Enforcement Defendants did not offer

assistance or appreciation to any protestors. At the same time the officers were

handing out assistance and praise to the armed individuals, including Defendant

Rittenhouse, they can be heard over loudspeakers in their armored vehicles ordering

the protestors to disperse: “This is the last warning. You will disperse.” And: “This

area is closed you are trespassing, leave now.”

       92.    No such warnings or threats were made to the armed individuals.

       93.    The Law Enforcement Defendants deliberately orchestrated these

circumstances. A clear message was sent that perceived protestors were required to

disperse, while armed individuals who supported law enforcement could roam free

and assist the officers. These events directly led to Anthony Huber’s death.

       94.    Before the fatal shootings, one of the armed individuals was

interviewed. He said the following: “You know what the cops told us today? They were

like, ‘We’re gonna push ’em down by you, ‘cause you can deal with them, and then

we’re gonna leave.’”


                                           18

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 19 of 46 Document 25-1
      95.      And that is exactly what happened. The Law Enforcement Defendants

ordered the protestors to move south, funneling them into a confined area, where they

were met by the violence perpetrated by Defendant Rittenhouse and the other armed

individuals.

      96.      Internal communications and reports from members of the Law

Enforcement Defendants reveal that they knew the pro-police armed individuals had

gathered around 60th and Sheridan, yet they deliberately funneled protestors out of

the park near 56th and Sheridan and forced them South right into the militia group

they knew to be pro-police, in violation of the curfew order, slashing tires, and armed

with long guns.

      97.      At all times, the Law Enforcement Defendants, Defendant Rittenhouse,

and others knew and understood what it meant when they told heavily armed private

citizens to “deal with” the protestors. In this manner, the Law Enforcement

Defendants, Defendant Rittenhouse, and others arrived at a plan to collectively use

force and state authority against the protestors.

      98.      For example, Defendant Rittenhouse’s own lawyers stated that the

police “maneuvered a mass of individuals down the street towards the auto shops”

where the armed individuals had gathered.

      99.      As a result, the Law Enforcement Defendants invited, deputized,

authorized, conspired with, and ratified the actions of Defendant Rittenhouse, a boy

illegally in possession of an assault rifle, who roamed the street in violation of an

emergency curfew order, shooting innocent civilians, killing two, seriously injuring a


                                          19

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 20 of 46 Document 25-1
third, and narrowly missing a fourth.

      100.    To make matters worse, when Huber and Grosskreutz were shot, the

Law Enforcement Defendants were at the scene. Protestors yelled to the officers that

Defendant Rittenhouse had just shot people. Remarkably, the officers did nothing to

stop Defendant Rittenhouse, let alone question him, or arrest him. Instead, officers

spoke to Defendant Rittenhouse and then let him walk away.

      101.    The only reason the Law Enforcement Defendants allowed Defendant

Rittenhouse to walk away after shooting three people was because he was white and

because he was affiliated with the armed individuals, who had the Law Enforcement

Defendants’ explicit support.

      102.    By inviting, deputizing, conspiring with, and ratifying the actions of

armed individuals, who were empowered to patrol the streets of Kenosha, the Law

Enforcement Defendants created an extremely and obviously dangerous and deadly

environment, which led directly and foreseeably to the shootings of Anthony Huber

and others.

      103.    The Law Enforcement Defendants’ open support of and coordination

with the armed individuals in the minutes and hours before the shootings deprived

Anthony Huber and the other protestors of the basic protections typically provided

by police. It was a license for the armed individuals to wreak havoc and inflict injury.

      104.    Defendant Rittenhouse’s own lawyers have blamed the shootings on the

Law Enforcement Defendants, highlighting their “abject failure to ensure basic law

and order to citizens.”


                                          20

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 21 of 46 Document 25-1
      105.   The Law Enforcement Defendants continued their disparate treatment

of Black people, even after the deaths of Huber and Rosenbaum. For example,

Defendant Miskinis refused to publicly condemn the crimes of Defendant Rittenhouse

or the other armed individuals, and instead has ratified that misconduct. Indeed, he

has defended the armed individuals as citizens exercising their constitutional rights.

The protestors received the opposite treatment from Defendant Miskinis.

      106.   Moreover, in his first press conference after the shooting, Defendant

Miskinis refused to make any statements condemning or even dissuading the armed

individuals, even when he was specifically asked if he wanted armed vigilante groups

to be present again the next night of protests.

             Racial Discrimination and Viewpoint Discrimination

      107.   If Defendant Kyle Rittenhouse were Black, the Law Enforcement

Defendants would have acted much differently.

      108.   If a Black person had approached police with an assault rifle, offering to

patrol the streets with the police, he most likely would have been shot dead.

      109.   If a Black man had shot three citizens with an assault rifle and was seen

walking away from the scene of the shooting with the assault rifle in hand, while

other citizens yelled he was an active shooter, he would have been shot dead.

      110.   In none of these circumstances would the Law Enforcement Defendants

have permitted the individual to roam the streets, illegally and heavily armed, shoot

civilians, and then walk past a dozen officers, talk to them, and simply go home.

      111.   One need not look any further than the very event that gave rise to the


                                          21

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 22 of 46 Document 25-1
protest at which Anthony Huber was killed: although Jacob Blake was not at the site

of a shooting, possessed no gun, brandished no weapon, had not shot or hurt anyone,

and was climbing into his own car with two children, Blake was shot in the back seven

times by officers employed by Defendant KPD.

      112.     By contrast, Defendant Rittenhouse was walking away from the scene

of a double homicide with an assault rifle in his arms, and he was permitted to simply

walk away.

      113.     Jacob Blake is Black. Defendant Kyle Rittenhouse is White.

      114.     Moreover, the demonstrators were a diverse group of citizens protesting

police violence against Black people, which included many Black-Americans and

other people of color. They were protesting, in part, the racial discrimination of

Defendants KPD and KCSD, and their officers, as exemplified by the shooting of

Jacob Blake.

      115.     The armed individuals were all White.

      116.     Similarly, the protestors were advocating a viewpoint critical of the

police, including Defendants KPD and KCSD. The armed individuals espoused a

viewpoint that was avowedly pro-police.

      117.     The difference in treatment of the two groups was stark. The White, pro-

police armed individuals were allowed by the Law Enforcement Defendants to patrol

the streets with weapons of war, participating in the police action, and threatening

and inflicting violence on innocence civilians; while the diverse group of protestors

criticizing police actions were ordered to disperse because they were violating the


                                           22

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 23 of 46 Document 25-1
curfew order. No such orders were given to the pro-police individuals, who were in

violation of the curfew as well, and known to be slashing tires.

      118.   The reaction of some of the Law Enforcement Defendants to the shooting

of three individuals by one of the pro-police armed individuals was openly callous.

One of them texted on the night of August 25, shortly after Huber and the others had

been shot by Defendant Rittenhouse, “Listening to the gun fire. Such a nice night.”

He then linked to a livestream of the shooting on Twitter, and texted, “Nice video.”

      119.   The protestors were also treated differently than the armed individuals

in terms of who was subject to arrest. In the days after the protests began, more than

150 protestors were arrested for allegedly violating the curfew order. Not even a

single one of the armed individuals was arrested by the Law Enforcement Defendants

for violating the same curfew order.

      120.   Many of the armed individuals with whom the Law Enforcement

Defendant departments had allied themselves were avowed racists.

      121.   Among the armed individuals present at the protests was Ryan Balch,

a member of the Boogaloo Bois who could be seen patrolling the streets with

Defendant Rittenhouse. The Boogaloo Bois are a right-wing militia group whose

adherents include neo-Nazis and white supremacists. According to Balch, as many as

32 members of the Boogaloo Bois were in Kenosha patrolling the streets.

      122.   In the months after he killed Anthony Huber, Defendant Rittenhouse

was seen in a bar in his hometown flashing an “OK” sign, a symbol of white

supremacy/white power.


                                          23

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 24 of 46 Document 25-1
  Systemic Racial Discrimination in the Kenosha Police Department and Kenosha
                          County Sheriff’s Department

       123.   Defendant KPD’s support of, and coordination with, the armed

individuals was a product of its systemic, racially discriminatory policies and

practices.

       124.   The KPD has just eight Black police officers, out of a force of more than

200 officers. It has never had a Black person in top leadership positions, including

police chief, assistant chief, or police inspector.

       125.   Christopher Carter, a former Black police officer in the KPD who retired

in 2011, has said he was consistently subject to racist aggression, including being

called a “n*****,” was discriminated against during his time at the KPD, and

witnessed racist policing practices toward civilians.

       126.   In a recent article in the Washington Post, six current and former


                                            24

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 25 of 46 Document 25-1
officers “described a department at odds with people of color, both inside and outside

its ranks, with some officers routinely using racist language and excessive force.” One

of the former officers stated, “You have officers there who openly admit to pulling

someone over because they’re Black and driving a nice car. And these are officers who

train new officers.”

      127.   Just eleven days before Jacob Blake was shot, a woman was arrested for

filming police officers engaging in threats and physical abuse during the arrest of a

Black man. Her video footage captured a KPD officer punching a man in the ribs

twice after he had already been handcuffed. When she was ordered to disperse, she

responded, “We’re not moving until we know he’s safe!” An officer responded, “Do you

want to get shot?”

      128.   For his part, Defendant Beth has his own history of racially

discrimination conduct as the Kenosha County Sheriff. In 2018, two Black woman

and three Black men were apprehended after a shoplifting incident and a high-speed

chase. The youngest individual arrested was 16 years old. In comments after the

arrest, Defendant Beth stated that it was time to “stop being politically correct,” and

that “these people have to be warehoused.”




                                          25

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 26 of 46 Document 25-1
                                   LEGAL CLAIMS

                               COUNT I:
                            42 U.S.C. §1983
            CONSPIRACY TO DEPRIVE CONSTITUTIONAL RIGHTS

      129.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

      130.     Defendants acting in concert with each other and other co-

conspirators—including Defendant Rittenhouse, Mathewson, members of the

Kenosha Guard and other non-party armed individuals—reached an agreement

among themselves to deprive Huber of his constitutional rights, all as described in

the various paragraphs of this Complaint.

      131.     In so doing, these co-conspirators conspired to accomplish an unlawful

purpose by an unlawful means. In addition, these co-conspirators agreed among

themselves to protect one another from liability for depriving Huber of these rights.

      132.     In furtherance of the conspiracy, each of the co-conspirators committed

overt acts and was an otherwise willful participant in joint activity.

      133.     The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, willfulness, and reckless indifference

to the rights of Huber and others.

      134.     As a direct and proximate result of the illicit prior agreement referenced

above, Huber’s rights were violated and he suffered injuries, including emotional

distress and death.

      135.     Plaintiff’s’ injuries were caused by the actions and decisions of

Defendants Beth and Miskinis, acting in their individual and official, policymaking
                                       26

          Case 2:21-cv-00969-LA Filed 01/07/22 Page 27 of 46 Document 25-1
capacities; Larsen, acting in his official capacity; and by employees and contractors

of the Kenosha Police Department, Kenosha County Sheriff’s Department,

Additionally Responding Departments, and including the John Doe Police Officers,

who acted at the direction of Defendants Beth and Miskinis; the Municipal

Defendants; and Defendant Rittenhouse.

      136.     The misconduct described in this Count was undertaken pursuant to the

policies and practices of the Municipal Defendants, the Kenosha Police Department,

the Kenosha County Sheriff’s Department, and the Additionally Responding

Departments, in the manner more fully described below in Count VII.


                           COUNT II:
                        42 U.S.C. §1985(3)
      CONSPIRACY TO OBSTRUCT JUSTICE BASED ON INVIDIOUS
                       DISCRIMINATION

      137.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

      138.     Defendants are “persons” as that term is used in 42 U.S.C. §1985.

      139.     Defendants, acting in concert with each other and other co-

conspirators—including Defendant Rittenhouse, Mathewson, members of the

Kenosha Guard and other non-party armed individuals—reached an agreement

among themselves to deprive Huber of his constitutional rights and equal protection

of the laws, all as described in the various paragraphs of this Complaint.

      140.     In so doing, these co-conspirators conspired to accomplish an unlawful

purpose by an unlawful means. In addition, these co-conspirators agreed among

themselves to protect one another from liability for depriving Huber of these rights.
                                         27

          Case 2:21-cv-00969-LA Filed 01/07/22 Page 28 of 46 Document 25-1
      141.   In furtherance of the conspiracy, each of the co-conspirators committed

overt acts and was an otherwise willful participant in joint activity.

      142.   The conspiracy between Defendants and the other co-conspirators set

forth above, and the actions taken in furtherance thereof, were motivated by racial

animus.

      143.   Specifically, working in concert with these others, Defendants targeted

individuals of color and individuals allied with them in protest against racial

discrimination, including Huber, by creating a dangerous environment in which

injury to Huber and others was highly likely. They did this by permitting the all-

white armed individuals—many of whom had openly espoused racist and violent

intentions—to taunt, threaten and monitor the diverse group of protestors, by

permitting the all-White armed individuals to patrol the streets like deputized police

officers, by offering the all-White armed individuals assistance and praise while

simultaneously ordering protestors to disperse, and by ultimately corralling the

protestors and funneling them toward the all-white armed individuals to “deal with

them.” Moreover, in the week or so after the protests began, more than 150 members

of the racially diverse group of protestors were arrested for violating Defendants’

curfew order. Not a single one of the all-white armed individuals was arrested for

violating the same curfew order.

      144.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, willfulness, and reckless indifference

to the rights of Huber and others.


                                          28

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 29 of 46 Document 25-1
      145.   As a direct and proximate result of the illicit prior agreement referenced

above, Huber’s rights were violated and he suffered injuries, including emotional

distress and death.

      146.   Plaintiff’s’ injuries were caused by the actions and decisions of

Defendants Beth and Miskinis, acting in their individual and official, policymaking

capacities; Larsen, acting in his official capacity; and by employees and contractors

of the Kenosha Police Department, Kenosha County Sheriff’s Department,

Additionally Responding Departments, and including the John Doe Police Officers,

who acted at the direction of Defendants Beth and Miskinis; the Municipal

Defendants; and Defendant Rittenhouse.

      147.   The misconduct described in this Count was undertaken pursuant to the

policies and practices of the Municipal Defendants, the Kenosha Police Department,

the Kenosha County Sheriff’s Department, and the Additionally Responding

Departments, in the manner more fully described below in Count VII.


                                   COUNT III:
                       42 U.S.C. § 1983, 42 U.S.C. §1985(2)
                             EQUAL PROTECTION

      148.   Each of the Paragraphs of this Complaint is incorporated as if fully

stated herein.

      149.   In the manner described in this Complaint, Defendants denied Huber

equal protection of the law in violation of the Fourteenth Amendment of the United

States Constitution.

      150.   Defendants’ conduct was motivated by racial animus and constituted

                                          29

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 30 of 46 Document 25-1
purposeful discrimination, and it also affected Huber and the racially diverse group

of protestors in a grossly disproportionate manner as compared to similarly situated

White individuals.

      151.   Specifically, working in concert with these others, Defendants targeted

individuals of color and individuals allied with them in protest against racial

discrimination, including Huber, by creating a dangerous environment in which

injury to Huber and others was highly likely. They did this by permitting the all-

white armed individuals—many of whom had openly espoused racist and violent

intentions—to taunt, threaten and monitor the diverse group of protestors, by

permitting the all-White armed individuals to patrol the streets like deputized police

officers, by offering the all-White armed individuals assistance and praise while

simultaneously ordering protestors to disperse, and by ultimately corralling the

protestors and funneling them toward the all-white armed individuals to “deal with

them.” Moreover, in the week or so after the protests began, more than 150 members

of the racially diverse group of protestors were arrested for violating the KPD and

KCSD’s curfew order. Not a single one of the all-White armed individuals was

arrested for violating the same curfew order.

      152.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, willfulness, and reckless indifference

to the rights of Huber and others.

      153.   As a direct and proximate result of the conduct referenced above,

Huber’s was deprived of equal protection of the laws, and he suffered injuries,


                                         30

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 31 of 46 Document 25-1
including emotional distress and death.

      154.     Plaintiff’s’ injuries were caused by the actions and decisions of

Defendants Beth and Miskinis, acting in their individual and official, policymaking

capacities; Larsen, acting in his official capacity; and by employees and contractors

of the Kenosha Police Department, Kenosha County Sheriff’s Department,

Additionally Responding Departments, and including the John Doe Police Officers,

who acted at the direction of Defendants Beth and Miskinis; the Municipal

Defendants; and Defendant Rittenhouse.

      155.     The misconduct described in this Count was undertaken pursuant to the

policies and practices of the Municipal Defendants, the Kenosha Police Department,

the Kenosha County Sheriff’s Department, and the Additionally Responding

Departments, in the manner more fully described below in Count VII.


                                  COUNT IV:
                                42 U.S.C. §1983
                       FIRST AMENDMENT RETALIATION

      156.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

      157.     In the manner described in this Complaint, Defendants subjected Huber

and the other protestors to discriminatory and retaliatory treatment based on their

opinions critical of police violence, in violation of the First Amendment of the United

States Constitution.

      158.     Huber   and   the   other   protestors   participated   in   rallies   and

demonstrations in downtown Kenosha advocating a viewpoint critical of the police,

                                           31

          Case 2:21-cv-00969-LA Filed 01/07/22 Page 32 of 46 Document 25-1
including Defendants KPD and KCSD, similar to the national and worldwide protests

against police violence that began in the summer of 2020. Such conduct is protected

by the First Amendment of the United States Constitution.

       159.   The armed individuals espoused a viewpoint that was avowedly “pro-

police.”

       160.   Defendants    subject   Huber     and   other   peaceful   protestors   to

discrimination and retaliation because of their viewpoints critical of police. They did

this by permitting “pro-police” armed individuals to taunt, threaten and monitor the

diverse group of protestors without consequence, by permitting the “pro-police” armed

individuals to patrol the streets like deputized police officers, by offering the “pro-

police” armed individuals assistance and praise while simultaneously ordering

protestors to disperse, and by ultimately corralling the protestors and funneling them

toward the “pro-police” armed individuals to “deal with them.” Moreover, in the week

or so after the protests began, more than 150 members of the protestors voicing

criticism of racist and violent police conduct were arrested for violating KPD and

KCSD’s curfew order. Not a single one of the “pro-police” armed individuals was

arrested for violating the same curfew order.

       161.   The protected speech of Huber and the other protestors, and the

viewpoint critical of police that they expressed, was a motivating factor in

Defendants’ disparate, discriminatory, and retaliatory treatment of the protestors.

       162.   Defendants’ retaliatory actions in response to Huber and the other

protestors’ protected speech have had a chilling effect that acts as a deterrent to free


                                          32

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 33 of 46 Document 25-1
speech.

      163.     The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, willfulness, and reckless indifference

to the rights of Huber and others.

      164.     As a direct and proximate result of the conduct referenced above,

Huber’s First Amendment rights were violated, and he suffered injuries, including

emotional distress and death.

      165.     Plaintiff’s’ injuries were caused by the actions and decisions of

Defendants Beth and Miskinis, acting in their individual and official, policymaking

capacities; Larsen, acting in his official capacity; and by employees and contractors

of the Kenosha Police Department, Kenosha County Sheriff’s Department,

Additionally Responding Departments, and including the John Doe Police Officers,

who acted at the direction of Defendants Beth and Miskinis; the Municipal

Defendants; and Defendant Rittenhouse.

      166.     The misconduct described in this Count was undertaken pursuant to the

policies and practices of the Municipal Defendants, the Kenosha Police Department,

the Kenosha County Sheriff’s Department, and the Additionally Responding

Departments, in the manner more fully described below in Count VII.


                                 COUNT V:
                               42 U.S.C. §1983
                        DEPRIVATION OF DUE PROCESS

      167.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

                                          33

          Case 2:21-cv-00969-LA Filed 01/07/22 Page 34 of 46 Document 25-1
      168.   In the manner described in this Complaint, Defendants allowed

Defendant Rittenhouse and other illegally armed individuals to patrol the streets of

downtown Kenosha with deadly weapons, inviting those individuals to use police

powers, deputizing them, conspiring with them, and ratifying their actions.

      169.   Defendants even informed Defendant Rittenhouse and these armed

individuals that they would funnel demonstrators toward them to be dealt with.

      170.   The misconduct described in this Count increased the danger faced by

Huber and other peaceful demonstrators who were present.

      171.   In addition, the misconduct described in this Count shocked the

conscience and was undertaken intentionally, with malice, willfulness, and reckless

indifference to the rights of Huber and others.

      172.   As a direct and proximate result of the conduct referenced above,

Defendant Rittenhouse shot and killed Huber.

      173.   Plaintiff’s’ injuries were caused by the actions and decisions of

Defendants Beth and Miskinis, acting in their individual and official, policymaking

capacities; Larsen, acting in his official capacity; and by employees and contractors

of the Kenosha Police Department, Kenosha County Sheriff’s Department,

Additionally Responding Departments, and including the John Doe Police Officers,

who acted at the direction of Defendants Beth and Miskinis; the Municipal

Defendants; and Defendant Rittenhouse.

      174.   The misconduct described in this Count was undertaken pursuant to the

policies and practices of the Municipal Defendants, the Kenosha Police Department,


                                         34

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 35 of 46 Document 25-1
the Kenosha County Sheriff’s Department, and the Additionally Responding

Departments, in the manner more fully described below in Count VII.


                                    COUNT VI:
                                  42 U.S.C. §1986
                             FAILURE TO INTERVENE

      175.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

      176.     In the manner described in this Complaint, Defendants had knowledge

that conspiratorial wrongs were about to be committed.

      177.     Each of the Defendants had the power to prevent or aid in preventing

the commission of those wrongs.

      178.     Defendants neglected to prevent or aid in preventing these wrongful acts

where the wrongful acts were committed and could have been prevented by

reasonable diligence.

      179.     As a direct and proximate result of the conduct referenced above,

Huber’s constitutional rights were violated, and he suffered injuries, including

emotional distress and death.

      180.     As a further consequence of these deprivations, Plaintiff was required to

retain counsel to represent them in court proceedings and incurred expenses

associated with these proceedings and prosecuting the instant case.

                                  COUNT VII:
                                 42 U.S.C. §1983
                     Municipal Liability/Monell Policy Claim

      181.     Each paragraph of this Complaint is incorporated as if restated fully

                                           35

          Case 2:21-cv-00969-LA Filed 01/07/22 Page 36 of 46 Document 25-1
herein.

      182.     As described more fully herein, the Municipal Defendants and the

Additionally Responding Departments are themselves liable for the violation of

Huber’s constitutional rights.

      183.     Plaintiff’s injuries were caused by the policies, practices, and customs of

the Municipal Defendants, as well as by the actions of policy-making officials for the

Municipal Defendants.

      184.     At all times relevant to the events described above and for a period of

time prior and subsequent thereto, the Municipal Defendants failed to promulgate

proper or adequate rules, regulations, policies, and procedures to ensure the

protection of equal protection, first amendment and other constitutional rights of

protestors and other individuals engaged in demonstrations and rallies on issues of

public interest; to protect protestors and other individuals engaged in demonstrations

and rallies on issues of public interest, including from counter-protestors and other

individuals whose actions and presence is likely to create danger and result in

violence; to ensure the equal enforcement (or non-enforcement) of curfew orders; to

ensure decision-making free of racial discrimination as related to the monitoring and

supervision of protests and demonstrations; to ensure decision-making free of

viewpoint discrimination as related to the monitoring and supervision of protests and

demonstrations; to protect the free speech rights of all persons regardless of race or

viewpoint; and to protect against the likely violence attributable to the presence and

threats of armed individuals deputizing themselves with police duties. In addition, or


                                            36

          Case 2:21-cv-00969-LA Filed 01/07/22 Page 37 of 46 Document 25-1
alternatively, the Municipal Defendants failed to promulgate proper and adequate

rules, regulations, policies, and procedures for the training and supervision of their

officers and agents, with respect to the foregoing topics.

      185.    These failures to promulgate proper or adequate rules, regulations,

policies, and procedures were committed by officers and agents of the Municipal

Defendants.

      186.    In addition, at all times relevant to the events described in this

Complaint and for a period of time prior thereto, the Municipal Defendants had notice

of widespread practices by their officers and agents to discriminate and retaliate

against racial minorities and their allies, and against protestors challenging

discriminatory and violent conduct by police officers including members of the

Kenosha Police Department and Kenosha County Sheriff’s Department and the

Additionally Responding Departments; and to favor the views of “pro-police” groups

such as the Kenosha Guard and the other armed individuals; and to subject favored

and unfavored groups to different treatment.

      187.    These widespread practices, individually and/or together, were allowed

to flourish because the leaders, supervisors, and policymakers of the Municipal

Defendants directly encouraged and were thereby the moving force behind the very

type of misconduct at issue.

      188.    The above widespread practices and customs, so well settled as to

constitute de facto policies of the Municipal Defendants were able to exist and thrive,

individually and/or together, because policymakers with authority over the same


                                          37

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 38 of 46 Document 25-1
exhibited deliberate indifference to the problem, thereby effectively ratifying it.

      189.     In addition, the misconduct described in this Count was undertaken

pursuant to the policies and practices of the Municipal Defendants, in that the

constitutional violations committed against Huber were committed with the

knowledge or approval of persons with final policymaking authority for the Municipal

Defendants or were committed by persons with such final policymaking authority.

      190.     Plaintiff’s injuries were directly and proximately caused by officers,

agents, and employees of the Municipal Defendants, who acted pursuant to one or

more of the policies, practices, and customs set forth above in engaging in the

misconduct described in this Count.

                             COUNT VIII:
            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

      191.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

      192.     In the manner described in this Complaint, Defendants engaged in

extreme and outrageous conduct.

      193.     Defendants’ actions set forth above were rooted in an abuse of power or

authority.

      194.     Defendants’ actions set forth above were undertaken with intent or

knowledge that there was a high probability that the conduct would inflict severe

emotional distress and death, and with reckless disregard of that probability.

      195.     Defendants’ actions set forth above were undertaken with malice,

willfulness, and reckless indifference to the rights of others.

                                           38

          Case 2:21-cv-00969-LA Filed 01/07/22 Page 39 of 46 Document 25-1
      196.     Defendants’ conduct intentionally or recklessly caused severe emotional

distress to another.


                               COUNT IX:
              NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

      197.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

      198.     In the manner described in this Complaint, Defendants were negligent.

      199.     Plaintiff was impacted by the incidents related to Defendants’

negligence.

      200.     Plaintiff suffered serious emotional distress of the type that a reasonable

person would expect to occur.

      201.     As a direct and proximate result of the conduct referenced above, Huber

suffered injuries, including emotional distress and death.


                                      COUNT X:
                                     NEGLIGENCE

      202.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

      203.     Defendants had a duty to Huber and the other protestors to act with

ordinary care and prudence so as not to cause harm or injury to Huber.

      204.     By engaging in the manner described in this Complaint, Defendants

failed to act with ordinary care and breached their duty of care owed to Huber.

      205.     As a direct and proximate result of the conduct referenced above, Huber

suffered injuries, including emotional distress and death.
                                            39

          Case 2:21-cv-00969-LA Filed 01/07/22 Page 40 of 46 Document 25-1
                              COUNT XI:
              NEGLIGENT HIRING, SUPERVISION AND TRAINING

       206.    Each paragraph of this Complaint is incorporated as if restated fully

herein.

       207.    Huber suffered damages from foreseeable misconduct of employees and

agents supervised by the Law Enforcement Defendants.

       208.    The Law Enforcement Defendants’ employees in supervisory roles had

a duty to properly supervise officers and to oversee their treatment of Huber and

other protestors.

       209.    The Law Enforcement Defendants blatantly disregarded the high

probability that, by permitting their officers and agents to deputize and conspire with

armed individuals, Huber would suffer injuries including death. These Defendants

were therefore negligent in their non-discretionary duties to supervise individual

officers in their agencies.

       210.    As a direct and proximate result of the negligent supervision described

above, Huber suffered injuries, including emotional distress and death.


                                     COUNT XII:
                                     SURVIVAL

       211.    Each of the Paragraphs of this Complaint is incorporated as if fully

stated herein.

       212.    In the manner described in this Complaint, Defendants’ committed

unlawful conduct as a result of which Defendant Kyle Rittenhouse fatally shot

Anthony Huber. Between having been shot and when he ultimately passed, Huber

                                          40

          Case 2:21-cv-00969-LA Filed 01/07/22 Page 41 of 46 Document 25-1
suffered “other damage” to his person pursuant to Wis. Stat. § 895.01(1)(am).

      213.   The misconduct described in this Count was intentional and undertaken

with malice, willfulness, and reckless indifference to the rights of others.

      214.   As a result of these actions, Huber suffered severe injuries, including

physical pain, emotional distress, and ultimately death.


                                  COUNT XIII:
                                WRONGFUL DEATH

      215.   Each of the Paragraphs of this Complaint is incorporated as if fully

stated herein.

      216.   In the manner described in this Complaint, Defendants intentionally

and unjustifiably caused the death of Anthony Huber, and Huber therefore had a

valid claim for damages against the Defendants at the time of his death.

      217.   As a consequence, Huber’s parents—John and Karen Bloom—have

suffered, and continue to suffer, significant emotional distress and harm, including

but not limited to the loss off society and companionship with Huber.

      218.   Plaintiff is the personal representative of the Estate of Anthony Huber,

and the proper party to pursue wrongful death damages.

      219.   The described in this Count was intentional and undertaken with

malice, willfulness, and reckless indifference to the rights of others.


                                 COUNT XIV:
                            RESPONDEAT SUPERIOR

      220.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

                                           41

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 42 of 46 Document 25-1
      221.    In committing the acts alleged in the preceding paragraphs, Defendants

Miskinis, Beth and John Doe Police Officers were agents, members, or employees of

the Municipal Defendants, acting at all relevant times within the scope of their

employment and under color of law.

      222.    These Defendants are liable as principals for all torts committed by their

agents.


                                   COUNT XV:
                                INDEMNIFICATION

      223.    Each of the Paragraphs of this Complaint is incorporated as if fully

stated herein.

      224.    Wisconsin law, Wisc. Stat. §895.46, requires public entities to pay any

tort judgment for damages for which employees are liable within the scope of their

employment activities.

      225.    During all times relevant to this complaint, Defendants Miskinis, Beth

and John Doe Police Officers were employees of the Municipal Defendants, who acted

within the scope of their employment in committing the acts described herein.


                                     DAMAGES

      226.    Under 42 U.S.C. §§1983, 1985 and 1986, and supplemental state law

claims, Plaintiff is entitled to an award of compensatory damages against the

Defendants.

      227.    In the wrongful acts or omissions described in this complaint, defendant

acted with fraud, oppression, and malice.


                                           42

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 43 of 46 Document 25-1
        228.   By reason of Defendants’ acts or omissions described in this complaint,

Plaintiff is entitled to recover punitive and exemplary damages.

        229.   Under 42 U.S.C. §1988, if Plaintiff is the prevailing party in this

litigation, then he will be entitled to receive an award of reasonable attorneys’ fees,

non-taxable expenses and costs.


        WHEREFORE, Plaintiff, JOHN HUBER, in his individual capacity and as

Personal Representative of the ESTATE OF ANTHONY HUBER, prays for judgment

under 42 U.S.C. §§1983, 1985, and 1986, and supplemental state law claims, against

Defendants DAVID G. BETH, DANIEL G. MISKINIS, ERIC LARSEN, JOHN DOE

POLICE OFFICERS of the Kenosha Police Department and Kenosha County Sheriff’s

Department, Waukesha County Sheriff’s Department, Racine County Sheriff’s

Department, Sauk County Sheriff’s Department, Walworth County Sheriff’s

Department, Washington County Sheriff’s Department, Menomonee Falls Police

Department, and West Allis Police Department, CITY OF KENOSHA, COUNTY OF

KENOSHA, COUNTY OF WAUKESHA, COUNTY OF RACINE, COUNTY OF

SAUK, COUNTY OF WALWORTH, COUNTY OF WASHINGTON, VILLAGE OF

MENOMONEE FALLS, CITY OF WEST ALLIS, and KYLE RITTENHOUSE, for

compensatory and punitive damages in a fair and reasonable amount, reasonable

attorneys’ fees, non-taxable expenses, costs, and such other relief as may be just under

the circumstances and consistent with the purpose of 42 U.S.C. §§ 1983, 1985, and

1986.

                                               Respectfully submitted,

                                          43

        Case 2:21-cv-00969-LA Filed 01/07/22 Page 44 of 46 Document 25-1
                                   /s/Anand Swaminathan
                                   One of Plaintiff’s Attorneys

                                   Jon Loevy
                                   Dan Twetten
                                   Anand Swaminathan
                                   Steve Art
                                   LOEVY & LOEVY
                                   311 N. Aberdeen, Third Fl
                                   Chicago, IL 60607
                                   (312) 243-5900




                              44

Case 2:21-cv-00969-LA Filed 01/07/22 Page 45 of 46 Document 25-1
                              JURY TRIAL DEMAND

       Pursuant to FED. R. CIV. P. 38, Plaintiff demands trial by jury in this action of

all issues so triable.

                                               Respectfully submitted,


                                               /s/Anand Swaminathan
                                               One of Plaintiff’s Attorneys

                                               Jon Loevy
                                               Dan Twetten
                                               Anand Swaminathan
                                               Steve Art
                                               LOEVY & LOEVY
                                               311 N. Aberdeen, Third Fl
                                               Chicago, IL 60607
                                               (312) 243-5900




                                          45

       Case 2:21-cv-00969-LA Filed 01/07/22 Page 46 of 46 Document 25-1
